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                                                                                        UNITED STATES DISTRICT COURT
                                                                                            DISTRICT OF VERMONT
                                                                   __________________________
                                                                   William O. Daggett, Jr.;
                                                                                                         ORIGINAL COMPLAINT
                                                                               Plaintiff;                AND DEMAND FOR
                                                                                                         JURY TRIAL
                                                                         -against-
                                                                                                         Civil Action No. 2:16-cv-00305
                                                                   Robert Gaydos, 1SourceAdmin, LLC;
                                                                   and Norvax, LLC;

                                                                            Defendants.
                                                                   ___________________________

                                                                                                  NOTICE OF DISMISSAL

                                                                          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff
WOOLMINGTON, CAMPBELL, BERNAL & BENT, P.C.




                                                                   William O. Daggett, Jr. gives notice that the above-captioned action is voluntarily

                                                                   dismissed against all defendants. No defendant has filed an answer or motion for
                                             MANCHESTER, VERMONT




                                                                   summary judgment.

                                                                   Date: January 18, 2017
                                                                                                             Respectfully submitted,

                                                                                                             /s/John D. Stasny_________
                                                                                                             John D. Stasny
                                                                                                             Attorney for Plaintiff
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